 

 

U.S. DISTRI
COMPLAINT EASTERN DISTRICT W

(for non-prisoner filers without lawyers) FILED

2018 AUG
UNITED STATES DISTRICT COURT Paw
EASTERN DISTRICT OF WISCONSIN °!EPlich &. URIES

 

(Full name of plaintiff(s))

Tiveathy Ryn Gave

 

 

Vv. Case Number:
18-€-1335

(to be supplied by Clerk of Court).

 

(Full name of defendant(s))

Sarcents Foods Inc

 

 

 

 

 

A. PARTIES
1. Plaintiff is a citizen of __[W/S Cons ja and resides at
(State)
522 Susan Strut Combine Lok, wt SY//3
(Address)

(If more than one plaintiff is filing, use another piece of paper.)

2. Defendant SARGEMS Fa 3 TNC.
. , (Name)
is (if a person or private corporation) a citizen of ___V [SCONL IN

Case 2:18-cv-01335-PP FileQotéiyReii81 Page 10f 5 Document 1
 

 

(State, if known)
and (if a person) resides at 1 Precnickhe Place £ lymph, W] 53273

(Address, if known)
and (if the defendant harmed you while doing the defendant's job)

worked for Sangento Pods Li 1 fersnickey Place eyxovtt, tr)
(Employer’s name and address, if known) 4307}?

(If you need to list more defendants, use another piece of paper.)
B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:

1. Who violated your rights;

2. What each defendant did;

3. When they did it;

4, Where it happened; and

5. Why they did it, if you know.

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Case 2:18-cv-01335-PP File faizMls Page 2 of 5 Document 1

 

 

 

 
 

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Case 2:18-cv-01335-PP  Filedoatiain83 Page 3 of 5 Document 1

 
 

 

C. JURISDICTION

| Iam suing for a violation of federal law under 28 U.S.C. § 1331.

OR

[] Iam suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

$

D. RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit. Examples may
- include an award of money or an order telling defendants to do something or to
stop doing something.

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Case 2:18-cv-01335-PP Filegop via 54 Page 4o0f5 Document 1
 

E. JURY DEMAND

I want a jury to hear my case.

[V7] - YES [ ]-NO

I declare under penalty of perjury that the foregoing is true and correct.
Complaint signed this 2am day of Qwd, vet 20(? .

Respectfully Submitted,

Teeutiy R On

Signature of Plaintiff

Qd0-Gou- 2843
Plaintiff's Telephone Number

Tis (rove D Hoturcerd, (ain

Plaintiff’s Email Address

522 Susan Yat Unanbicd Locks , uJ]

 

 

 

Sil,
(Mailing Address of Plaintiff)

(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FILING FEE

[V| I DO request that I be allowed to file this complaint without paying the filing fee.
I have completed a Request to Proceed in District Court without Prepaying the
Filing Fee form and have attached it to the complaint.

[_] IDO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint.

Case 2:18-cv-01335-PP File@ RispmtSs Page 5 of 5 Document 1

 
